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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              Case No. 8:09CR27
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )                    ORDER
NICOLE R. SEAMAN,                            )
                                             )
                     Defendant.              )



       This case is before the court on the defendant's oral motion for review of detention

and request for placement at NOVA (#74). The motion is denied.

       The defendant's proposed placement at NOVA does not overcome the rebuttal of

presumption of detention in 18 U.S.C. § 4142(e). Additionally, the defendant's motion

contains no additional evidence or information that would cause the court to reconsider its

earlier Order of Detention. This is particularly true given the defendant's prior record of

failures to appear and the court's March 16, 2009 Order granting a Petition for Action on

Conditions of Pretrial Release (#38), resulting in the revocation of her February 3, 2009

Order Setting Conditions of Release (#28) and her commitment to custody.

       IT IS ORDERED the defendant's oral motion for review of detention and placement

at NOVA (#74) is denied without hearing.

       Dated this 11th day of May 2009.

                                          BY THE COURT:


                                          S/ F. A. Gossett
                                          United States Magistrate Judge
